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                            81,7('67$7(6%$1.5837&<&2857
                              6287+(51',675,&72)7(;$6
                                    +286721',9,6,21

,QUH                                                      &DVH1R+
          7RQFL7RPDVLF

                     'HEWRUV


          &+$37(567$1',1*75867((¶6),1$/5(3257$1'$&&2817

       'DYLG*3HDNHFKDSWHUWUXVWHHVXEPLWVWKHIROORZLQJ)LQDO5HSRUWDQG$FFRXQWRI
WKHDGPLQLVWUDWLRQRIWKHHVWDWHSXUVXDQWWR86&E7KHWUXVWHHGHFODUHVDV
IROORZV

           7KHFDVHZDVILOHGRQ

           7KHSODQZDVFRQILUPHGRQ1$

           7KHSODQZDVPRGLILHGE\RUGHUDIWHUFRQILUPDWLRQSXUVXDQWWR86&RQ
1$

       7KHWUXVWHHILOHGDFWLRQWRUHPHG\GHIDXOWE\WKHGHEWRULQSHUIRUPDQFHXQGHUWKHSODQ
RQ1$

           7KHFDVHZDVGLVPLVVHGRQ

           1XPEHURIPRQWKVIURPILOLQJWRODVWSD\PHQW

           1XPEHURIPRQWKVFDVHZDVSHQGLQJ

           7RWDOYDOXHRIDVVHWVDEDQGRQHGE\FRXUWRUGHU1$

           7RWDOYDOXHRIDVVHWVH[HPSWHG1$

           $PRXQWRIXQVHFXUHGFODLPVGLVFKDUJHGZLWKRXWSD\PHQW

           $OOFKHFNVGLVWULEXWHGE\WKHWUXVWHHUHODWLQJWRWKLVFDVHKDYHFOHDUHGWKHEDQN 




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    Case 13-33313 Document 22 Filed in TXSB on 07/17/13 Page 2 of 5



5HFHLSWV

       7RWDOSDLGE\RURQEHKDOIRIWKHGHEWRU                   
       /HVVDPRXQWUHIXQGHGWRGHEWRU                             

1(75(&(,376                                                                                          


([SHQVHVRI$GPLQLVWUDWLRQ

    $WWRUQH\¶V)HHV3DLG7KURXJKWKH3ODQ                               
    &RXUW&RVWV                                                         
    7UXVWHH([SHQVHV	&RPSHQVDWLRQ                                      
    2WKHU                                                               
727$/(;3(16(62)$'0,1,675$7,21                                                                      

$WWRUQH\IHHVSDLGDQGGLVFORVHGE\GHEWRU                


6FKHGXOHG&UHGLWRUV
&UHGLWRU                                    &ODLP       &ODLP            &ODLP           3ULQFLSDO       ,QW
1DPH                             &ODVV    6FKHGXOHG    $VVHUWHG         $OORZHG            3DLG          3DLG
%$1.2)$0(5,&$1$           8QVHFXUHG            1$                                 
),$&$5'6(59,&(61$         8QVHFXUHG            1$                                 
2%(''(/$&58=              8QVHFXUHG            1$                                 
6$17$1'(5&21680(586$       6HFXUHG              1$                               




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      Case 13-33313 Document 22 Filed in TXSB on 07/17/13 Page 3 of 5



 6XPPDU\RI'LVEXUVHPHQWVWR&UHGLWRUV
                                                               &ODLP           3ULQFLSDO           ,QWHUHVW
                                                             $OORZHG               3DLG               3DLG
 6HFXUHG3D\PHQWV
       0RUWJDJH2QJRLQJ                                                                    
       0RUWJDJH$UUHDUDJH                                                                  
       'HEW6HFXUHGE\9HKLFOH                                                             
       $OO2WKHU6HFXUHG                                                              
 727$/6(&85('                                                                       

 3ULRULW\8QVHFXUHG3D\PHQWV
        'RPHVWLF6XSSRUW$UUHDUDJH                                                         
        'RPHVWLF6XSSRUW2QJRLQJ                                                           
        $OO2WKHU3ULRULW\                                                                 
 727$/35,25,7<                                                                           

 *(1(5$/816(&85('3$<0(176                                                           


'LVEXUVHPHQWV

         ([SHQVHVRI$GPLQLVWUDWLRQ                                  
         'LVEXUVHPHQWVWR&UHGLWRUV                                   

727$/',6%856(0(176                                                                              


        7KHWUXVWHHFHUWLILHVWKDWSXUVXDQWWR)HGHUDO5XOHRI%DQNUXSWF\3URFHGXUH
WKHHVWDWHKDVEHHQIXOO\DGPLQLVWHUHGWKHIRUHJRLQJVXPPDU\LVWUXHDQGFRPSOHWHDQGDOO
DGPLQLVWUDWLYHPDWWHUVIRUZKLFKWKHWUXVWHHLVUHVSRQVLEOHKDYHEHHQFRPSOHWHG 7KHWUXVWHH
UHTXHVWVDILQDOGHFUHHEHHQWHUHGWKDWGLVFKDUJHVWKHWUXVWHHDQGJUDQWVVXFKRWKHUUHOLHIDVPD\
EHMXVWDQGSURSHU

'DWHG                              %\V'DYLG*3HDNH
                                                                          7UXVWHH

67$7(0(177KLV8QLILHG)RUPLVDVVRFLDWHGZLWKDQRSHQEDQNUXSWF\FDVHWKHUHIRUH3DSHUZRUN5HGXFWLRQ
$FWH[HPSWLRQ&)5DDSSOLHV




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                     Case 13-33313 Document 22 Filed in TXSB on 07/17/13 Page 4 of 5
                                                United States Bankruptcy Court
                                                 Southern District of Texas
 In re:                                                                                                     Case No. 13-33313-mi
 Tonci Tomasic                                                                                              Chapter 13
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0541-4                  User: dhan                         Page 1 of 2                          Date Rcvd: Jul 15, 2013
                                       Form ID: pdf012                    Total Noticed: 6


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 17, 2013.
 db            +Tonci Tomasic,    15207 Redwood Run Ct.,    Houston, TX 77062-3639
 8498441       +Bank of America N.A.,    Loss/Recovery,   P O Box 982284,    El Paso, TX 79998-2284
 8509778       +FIA CARD SERVICES, N.A.,    P O Box 982284,    El Paso, TX 79998-2284
 8522016       +Francisco Moreno,    c/o Obed DeLaCruz,   Markle DeLaCruz, LLP,    17100 El Camino Real, Suite 500,
                 Houston, Texas 77058-2795
 8493679       +Santander Consumer USA,    Po Box 560284,    Dallas, TX 75356-0284

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 8490320       E-mail/Text: cio.bncmail@irs.gov Jul 15 2013 22:08:34
                INTERNAL REVENUE SERVICE (Chapter 13 Notice),   P O Box 7346,   Philadelphia PA 19101-7346
                                                                                             TOTAL: 1

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 17, 2013                                       Signature:
                Case 13-33313 Document 22 Filed in TXSB on 07/17/13 Page 5 of 5



District/off: 0541-4         User: dhan                  Page 2 of 2                   Date Rcvd: Jul 15, 2013
                             Form ID: pdf012             Total Noticed: 6


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 15, 2013 at the address(es) listed below:
              C Michael Black    on behalf of Debtor Tonci Tomasic cmb@cmblack-lawyer.com
              David G Peake    court@peakech13trustee.com
              US Trustee    USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
